                       UNITED STATES DISTRICT COURT
                                                                 FI LEU
                      EASTERN DISTRICT OF TENNESSEE                  _!'';   o9 2011
                           GREENEVILLE DIVISION
                                                            I.Jlt:1 r., U, s. District Court
                                                           Eastern Oistr:-:t of Tennessee
 UNITED STATES OF AMERICA               )                             At Gn.::&, ,.:<:le
                                        )
       V.                               )            2:19-CR-    qG,
                                        )            JUDGE      G4te;e(
 WILLIAM ROGER WOODIE                   )
    a.k.a. "VOODOO"                     )            TOBE SEALED
 HAILEY LEANN HALE                      )
    a.k.a. "BABY MAMA"                  )
 AMY LAURA LEONARD                      )
 MELISSA RENEE DAUGHERTY                )
    a.k.a. "MISSY"                      )
 ANTHONY NATHAN SMITH                   )
    a.k.a. "ANTIONE"                    )
 TIFF ANY ROCHELLE CROSS                )
    a.k.a. "TIFF"                       )
 JOHN HAROLD HYATT, JR.                 )
    a.k.a. "LITTLE JOHN"                )
 LINSEY JO HYATT                        )
 RONALD JEREMY BLACK                    )
 JOSEPH WESLEY HARRISON                 )
 JAMES EDWARD MALONE                    )
    a.k.a. "JIMMY"                      )
 TRAVIS CHARLES GLOVER                  )
 CASSIDY JADE HORTON                    )
    a.k.a. "CASSIE"                     )
 DEVIN CLOYD ASHBY                      )
    a.k.a. "REDNECK"                    )
 EARL HAROLD MCCOY, JR.                 )
 JOSHUA MARTIN HALL                     )
    a.k.a. "JOSH"                       )
 WILLIAM MATTHEW HOW ARD                )
   a.k.a. "NOODLE"                      )
 CRAIG MATTHEW COLLINS                  )
   MATTHEW BRIAN PHILLIPS               )
   a.k.a. "MILF"                        )
 CHASIDY DANIELLE BRUNETTE              )
 SHAWN ERIC KENDRICK                    )
   a.k.a. "PEEDAB"                      )
 JOSHUA CAINE MITCHELL                  )
   a.k.a. "BIG DAWG"                    )
 KEVIN LEON DAVIS                       )
 JONATHAN MATTHEW RATLIFF               )



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   a.k.a. "MATT"                                    )
 CARL FRANKLIN BLANKENSHIP                          )
 RONALD DEAN CANTRELL, JR.                          )
   a.k.a. "RONNIE"                                  )
 JESSICA BROOKE LEONARD                             )
 BRANDON ISAIAH OTEY                                )
 TERESA ANN SMITH                                   )
   a.k.a. "TAZ"                                     )
 LAUREN KATE SMITH                                  )
 JOSHUA CARREON                                     )



                                            ORDER

               Upon motion of the plaintiff, the United States of America, and for good cause

shown,

               IT IS HEREBY ORDERED that all documents in this case, including the Motion

to Seal, are sealed until such time as the defendants have made an initial appearance before the

court, at which time the file may be unsealed unless the court otherwise orders. This sealing

order does not prevent disclosure of the indictment to duly authorized law enforcement officers

or the United States Marshals for purposes of arrest or apprehension of the named defendants .




                                                                  . CORKER
                                                                ISTRATE JUDGE
Presented for Entry:

    J. DOUGLAS OVERBEY
    United States Attorney


By: s/Thomas A. McCauley ';""°'
   THOMAS A. MCCAULEY
                                  4
   Assistant United States Attorney




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